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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

          United States of America            )
                 Plaintiff(s),                )              Case No: 1:21-cr-00418-1
                v.                            )              Magistrate Judge Beth W. Jantz
                                              )
          Ibrahim Al-Amreeki                  )
                Defendant(s),                 )

                                             ORDER

        Initial appearance and Arraignment held on 8/23/2021. Defendant appears following an arrest
in Oregon and determination of removal to this District on July 21, 2021. By agreement and consent
of all the parties and pursuant to the CARES Act, all parties appear by video and telephone
conference. Attorney Dena Singer is appointed as counsel for the Defendant subject to the Court
receiving her CJA appointment papers. Defense counsel shall email these documents to the
courtroom deputy at anthony_squillante@ilnd.uscourts.gov as soon as reasonably practicable.
Defendant is advised of charges and maximum penalties available under the law and informed of his
rights. Defendant enters plea of not guilty to all counts in the indictment. The Government orally
moves for detention based on 18 U.S.C. 3142(f), and Defendant orally moves for a continuance to
determine whether he will seek release upon arrival in this District. A telephonic status hearing to
track Defendant’s removal to the Northern District of Illinois and on the issue of bond/detention is
set before Judge Jantz on 09/21/2021 at 1:30 p.m. The call-in number is 888-273-3658, Access Code
2217918. If circumstances change before the 9/21/21 hearing, the parties may jointly email the
courtroom deputy. The Rule 16.1 (a) conference is to be held as soon as possible. Status hearing
before Judge Gettleman set for 9/9/2021 at 9:00 a.m. The call-in number is (888) 684-8852 and the
access code is 1503395. Without objection, time is excluded from 08/23/2021 to and including
9/21/2021 pursuant to 18 U.S.C. § 316l(h)(7)(A)(B) in the interest of justice and for reasons stated
in open court.

(00:20)


 Date:08/23/2021                                            /s/ _______________________
                                                            Beth W. Jantz
                                                            United States Magistrate Judge
